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 1   Eric K. Fogderude, #070860
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 3   Fresno, California 93704
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     E-mail: efogderude1@yahoo.com
 5
     Attorney for Defendant JORGE ALEJANDRO ABURTO
 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT FOR THE
 9                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )            CASE NO. 10-353 LJO
                                   )
12             Plaintiff,          )            STIPULATION AND ORDER TO
                                   )            CONTINUE SENTENCING HEARING
13   vs.                           )
                                   )
14   JORGE ALEJANDRO ABURTO        )
                                   )
15                                 )
               Defendants.         )            NEW DATE: 01/6/2012
16   ______________________________)            TIME:     9:00 a.m.
                                                JUDGE:    Lawrence J. O’Neill
17
18           It is hereby stipulated by and between the parties hereto
19   that the Sentencing hearing in the above entitled matter
20   now set previously set for October 14, 2011, may be continued to
21   January 6, 2012 at 9:00 a.m.
22           Good cause exists for the continuance because the plea
23   agreement between the government and Mr. Aburto provides that he
24   is to cooperate with the government, including testifying in the
25   case pending against the co-defendants, which case is scheduled
26   for jury trial December 5, 2011.
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     U.S. vs. Aburto                              Stipulation/Proposed Order
     Case No. 10-353
         Case 1:10-cr-00353-LJO Document 63 Filed 09/28/11 Page 2 of 2


 1
     DATED: September 28, 2011           FLETCHER & FOGDERUDE, Inc.
 2
 3                                       /s/ Eric K. Fogderude
                                         ERIC K. FOGDERUDE
 4                                       Attorney for Defendant,
                                         JORGE ALEJANDRO ABURTO
 5
 6
     Dated: September 28, 2011           McGREGOR W. SCOTT
 7                                       United States Attorney
 8                                       /s/ Karen Escobar
 9                                       Karen Escobar
                                         Assistant US Attorney
10
11
                                          ORDER
12
13
14            The sentencing hearing in the above-entitled matter is
15     continued to January 6, 2012, at 9:00
16   a.m. before the Honorable Lawrence J. O’Neill.
17
18   IT IS SO ORDERED.
19   Dated:      September 28, 2011         /s/ Lawrence J. O'Neill
     b9ed48                             UNITED STATES DISTRICT JUDGE
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     U.S. vs. Aburto                              Stipulation/Proposed Order
     Case No. 10-353                         2
